                                      UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF VIRGINIA
 MICHAEL F. URBANSKI                   210 FRANKLIN ROAD , SW. • ROOM 350                TELEPHONE 540 857-5124
Chief United States Distri ct Judge       ROANOKE , VIRGINIA 24011-2208                   FACSIMILE 540 857-5129




                                                  ovember 14, 2018

         Via ECF

         Counsel of Record
         United States v. Marcus Davis et al
         4:18cr00011

                    In re: Sealing Error/ Continuation of CJA Counsel

         Dear Counsel:

                 As you may be aware, the docket in this case was inadvertently sealed for a few days
         last week. I learned of the mistake on Monday and immediately took steps to flx the error.
         Because of the Veteran's Day holiday, appropriate access to the docket was not restored
         until Tuesday morning. The court apologizes for the inadvertent docketing error and trusts
         that it has not presented any issues for you in connection with this case. Should you have
         any concerns resulting from this clerical error, please let me know.

                Given the Notice of Death Penalty Determination flied by the government in this
         case on November 1, 2018 indicating that the Attorney General of the United States has
         authorized and directed the United States Attorney for the Western District of Virginia not
         to seek the death penalty in this case, the court expects to set trial dates at the pretrial
         conferences set for November 29 and 30, 2018. The court will also address any issues
         presently pending along with those raised at the pretrial conference.

                Finally, I have consulted with Larry Dash at the Fourth Circuit Court of Appeals
         concerning whether defendants may continue to be represented by two CJA counsel in this
         case and have been assured that both counsel are appropriately authorized. I would ask that
         CJA counsel continue to work with Judge Ballou and Larry Dash concerning case budgets.

                 Please let me know if there are any issues that you would like to have addressed at the
         pretrial conferences set at the end of this month.




                                                             Michael F. Urbanski
                                                             Chief United States District Judge



    Case 4:18-cr-00011-MFU-RSB Document 236 Filed 11/14/18 Page 1 of 1 Pageid#: 787
